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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

IN THE MATTER OF THE SEARCH
OF:
                                                                No. 4:20-MJ-441
One Motorola cellular phone with black face
and maroon cover possessed by Loui Hamdooni
on June 22, 2020, currently located
at Southlake Police Department

                                 MOTION TO UNSEAL

       The United States, acting by and through the undersigned United States Attorney

for the Northern District of Texas, requests this Court for an Order unsealing the search

warrant, application and affidavit, and inventory issued in this cause.   The government

has executed the search warrant in this case and any further investigation by Federal

Bureau of Investigation will not require continued sealing of the search warrant.

       Therefore, the government requests that the search warrant, application and

affidavit and any attachment be unsealed.


                                                 Respectfully submitted,

                                                 ERIN NEALY COX
                                                 UNITED STATES ATTORNEY

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